         Case 4:23-cv-04155-YGR Document 79-5 Filed 12/28/23 Page 1 of 2



 1

 2

 3

 4

 5                            UNITED STATES DISTRICT COURT

 6             NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 7

 8   CALIFORNIA COALITION FOR WOMEN          Case No. 4:23-cv-04155-YGR
     PRISONERS et al.,
 9                                           [PROPOSED] ORDER GRANTING
                      Plaintiffs,            PLAINTIFFS’ ADMINISTRATIVE
10                                           MOTION PURSUANT TO CIVIL L.R. 7-
          v.                                 11 FOR INCREASED ATTORNEY
11                                           VISITATION BEFORE THE JANUARY 3
     UNITED STATES OF AMERICA                EVIDENTIARY HEARING
12   FEDERAL BUREAU OF PRISONS et al.,

13                    Defendants.

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28



     [PROPOSED] ORDER GRANTING PLTF.’S ADMIN MOT.          CASE NO. 4:23-cv-04155-YGR
          Case 4:23-cv-04155-YGR Document 79-5 Filed 12/28/23 Page 2 of 2



 1          This matter comes before the Court on Plaintiffs’ Administrative Motion For Increased

 2   Attorney Visitation Before The January 3 Evidentiary Hearing (the “Motion”). Having considered

 3   the Motion, as well as the pleadings and materials lodged in this action, the Court finds good cause

 4   and GRANTS the Motion.

 5          The Court hereby ORDERS Defendants to permit Plaintiffs’ counsel to meet privately and

 6   confidentially with Plaintiffs and Plaintiffs’ Evidentiary Hearing witnesses to prepare for the

 7   Evidentiary Hearing (1) for at least 4 hours on December 31, 2023, and January 1, 2024, and (2) for

 8   the period of 9:00 a.m. to 5:00 p.m. on January 2, 2024.

 9

10          IT IS SO ORDERED.

11

12

13   Dated: ____________, 2023

14
                                                  The Honorable Yvonne Gonzalez Rogers
15                                                United States District Judge

16

17

18

19

20

21

22

23

24

25

26

27

28

                                       -1-
     [PROPOSED] ORDER GRANTING PLTF.’S ADMIN MOT.                         CASE NO. 4:23-cv-04155-YGR
